
706 S.E.2d 234 (2011)
STATE of North Carolina
v.
Jim E. GRAHAM.
No. 507P10.
Supreme Court of North Carolina.
February 3, 2011.
Kathleen N. Bolton, Assistant Attorney General, for State of North Carolina.
Jim E. Graham, Polkton, for Graham, Jim E.

ORDER
Upon consideration of the petition filed by Defendant on the 2nd of December 2010 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 3rd of February 2011."
